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                                      #:5730




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13
                             UNITED STATES DISTRICT COURT
14
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16
     LUIS LORENZO VARGAS,                                 Case No. 2:16-cv-08684-SVW-AFM

17
                            Plaintiff, DECLARATION OF BRETT
                                       BOON, Esq. IN SUPPORT OF
18
              v.                       PLAINTIFF’S REPLIES IN
                                       SUPPORT OF MOTIONS IN
19
                                       LIMINE
     CITY OF LOS ANGELES; LOS
20
     ANGELES POLICE                    HON. STEPHEN V. WILSON
     DEPARTMENT; COUNTY OF LOS
     ANGELES; OFFICE OF THE LOS        CTRM 10A
21   ANGELES DISTRICT ATTORNEY;
22
     LOS ANGELES SHERIFF’S             Date:            June 10, 2019
     DEPARTMENT; MONICA
     QUIJANO; RICHARD TAMEZ;           Time:            1:30 pm
23   SCOTT SMITH; AND DOES 1-10        Complaint Filed: November 12, 2016
24
     INCLUSIVE,                        Trial Date:      June 25, 2019
25
                         Defendants.

26
     ________________________________________________________________________________________________________
                                                       ___
27                                                                                     Page 1 of 2
     DECLARATION OF BRETT BOON
28
     Case 2:16-cv-08684-SVW-AFM Document 211-1 Filed 05/27/19 Page 2 of 4 Page ID
                                      #:5731




 1   I, BRETT A. BOON, declare and state as follows:

 2
         1. I am over the age of 21 and not a party to this action. I am one of the
 3
            attorneys of record representing Plaintiff LUIS LORENZO VARGAS.
 4
        2. I make this declaration based on my personal knowledge. For those matters
 5
            which I lack personal knowledge, I make them based on information and
 6
            belief. If called to testify, I would competently testify to each matter set forth
 7
            herein.
 8
        3. In opposing Plaintiff’s Motions in Limine, Defendants contend that Plaintiff
 9
            failed to meet and confer as required by Local Rule. This is untrue. On May
10
            8, 2019, I personally emailed Mr. Geoffrey Plowden, counsel for
11
            Defendants, setting forth the bases for Plaintiff’s planned motions in limine.
12
            A true and correct copy of this email is attached hereto as Exhibit 1. I
13
            received no response on the issues raised as potential motions.
14

15
            I declare under penalty of perjury under the laws of the state of California
16
     that the foregoing is true and correct. Executed on May 27, 2019 in San Diego,
17
     California.
18

19                                       /s/ Brett A. Boon
20
                                           Brett A. Boon, Esq.

21

22

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26
     ________________________________________________________________________________________________________
                                                       ___
27                                                                                     Page 2 of 2
     DECLARATION OF BRETT BOON
28
         Case 2:16-cv-08684-SVW-AFM Document 211-1 Filed 05/27/19 Page 3 of 4 Page ID
                                          #:5732

brett@bennerboon.com

From:                 Brett Boon
Sent:                 Wednesday, May 8, 2019 4:21 PM
To:                   'Geoff Plowden'; 'Craig Benner'
Cc:                   'Simpson, Alex'; 'Stiglitz, Jan'; 'Brooks, Justin'
Subject:              RE: Vargas


Geoff,

We will move forward with the expert briefing.

Regarding the Monell claim, we believe that dismissal based on your position would be premature. As a result, Plaintiff
prefers to allow the court ordered MSJ to be filed and resolved on this issue. To the extent Plaintiff prevails on his Brady
claim then we will agree to revisit this issue at that time.

Detective Tamez was dismissed by the Court long ago. If there is any lingering issue relative to Detective Tamez, it can be
resolved at the final pretrial conference and/or in pretrial filings. If you believe a formal filing remains necessary, please
provide a suggested stipulation for our review.

Mr. Benner confirmed next week’s meeting.

As an additional item, please accept this Plaintiff’s meet and confer regarding motions in limine. As of now, Plaintiff
plans to file three such motions:

    1) To include evidence at trial regarding Plaintiff’s innocence,
    2) To exclude evidence at trial of Plaintiff’s prior convictions, prison time, and any related “bad acts,” and;
    3) To exclude evidence regarding Plaintiff’s immigration status.

Please advise at your earliest convenience whether Defendants are willing to stipulate to any of the above. If the answer
is no, Plaintiff will move forward with the contemplated motions.

We look forward to continuing to work through and resolve pretrial and case related issues with your office in the
coming weeks.

Kind regards,

Brett A. Boon, Esq.
411 Camino Del Rio South, Suite 106
San Diego, CA 92108
P: (619) 358‐9949 || F: (619) 365‐4926

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any attachments. Thank you.

From: Geoff Plowden <geoffrey.plowden@lacity.org>
Sent: Tuesday, May 7, 2019 4:14 PM
                                                                  1
       Case 2:16-cv-08684-SVW-AFM Document 211-1 Filed 05/27/19 Page 4 of 4 Page ID
                                        #:5733
To: brett@boonlawoffice.com; Craig Benner <Craig@bennerlawfirm.com>
Subject: Vargas

Yes, we oppose your experts. Judge Wilson said he doesn't see a need for experts and is inclined to disallow them. The
disclosures violate Rule 26 and at the very least should have been made no later than 4/15.

I have sent two emails regarding the Monell claim and defendants Tamez, I got no response. You also have a state law
claim for respondeat that needs to be dismissed. The City has agreed to indemnify the individual defendants as to
compensatory damages, if any. Please get back to me on this.

Are we meeting next week? I offered tomorrow, but again got no response.

I'd like to depose damages witnesses week after next. Will you accept service and get me some dates?


Cooperation is a two‐way street. I look forward to hearing from you.
‐‐
Geoffrey Plowden
Deputy City Attorney
Police Litigation Section
200 N. Main Street #600
Los Angeles, CA 90012
213‐978‐7038 ph.
213‐978‐8785 fx.

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